Case 18-36375-KLP       Doc 35    Filed 05/20/19 Entered 05/20/19 13:48:27        Desc Main
                                  Document     Page 1 of 4




                                  United States Bankruptcy Court
                                   Eastern District of Virginia
                                       Richmond Division

 IN RE:                                                BCN#:       18-36375-KLP

 GRANVILLE LEROY GREEN


               Debtor(s)                               Chapter     7

 GRANVILLE LEROY GREEN

               Debtor(s)                               RESPONSE TO TRUSTEE’S
 v.                                                    MOTION TO SELL REAL
                                                       PROPERTY
 Wells Fargo Bank, NA
 and its assignees and/or
 successors in interests,
                 Respondent/Secured Creditor


 and

 ROY M. TERRY, JR.

               Respondent/Trustee




 Gregory N. Britto, Esquire
 VSB #23476
 William M. Savage, Esquire
 VSB #26155
 Malcolm B. Savage, III, Esquire
 VSB #91050
 Thomas J. Gartner, Esquire
 VSB #79340
 Mary F. Balthasar Lake, Esquire
 VSB #34899
 Renee Dyson, Esquire
 VSB #93282
 SHAPIRO & BROWN, LLP
 501 Independence Parkway, Suite 203
 Chesapeake, Virginia 23320
 (703) 449-5800
 18-272477
Case 18-36375-KLP           Doc 35   Filed 05/20/19 Entered 05/20/19 13:48:27               Desc Main
                                     Document     Page 2 of 4




        Comes now Wells Fargo Bank, NA, by Counsel, and for its response to the Trustee’s

        Motion to Authorize Private Sale of Real Property of the Estate Pursuant to 11 U.S.C. § 363

        states as follows:

        1.      That Wells Fargo Bank, NA holds a first priority deed of trust secured by real

 property located at 9123 Colonnade Circle, Ashland, VA 23005.

        2.      That Wells Fargo Bank, NA consents to the sale of the real property located at 9123

 Colonnade Circle, Ashland, VA 23005, which is secured by a deed of trust held by Wells Fargo

 Bank, NA, provided that there are sufficient proceeds to pay its underlying note and deed of trust in

 full through settlement.

        3.      Further, that Wells Fargo Bank, NA requests that all proceeds from the sale of the

 property be used to pay Wells Fargo Bank, NA in full, including its outstanding fees and costs due

 and owing at the date of settlement. Nothing contained herein shall prevent the Secured Creditor

 from proceeding to foreclosure upon obtaining relief from the Automatic Stay.

        4.      To the extent that the proceeds of the sale are insufficient to pay its underlying note

 and deed of trust in full including its fees and costs at settlement, then Wells Fargo Bank, NA is

 opposed to the Motion to Sell Real Property.
 Gregory N. Britto, Esquire
 VSB #23476
 William M. Savage, Esquire
 VSB #26155
 Malcolm B. Savage, III, Esquire
 VSB #91050
 Thomas J. Gartner, Esquire
 VSB #79340
 Mary F. Balthasar Lake, Esquire
 VSB #34899
 Renee Dyson, Esquire
 VSB #93282
 SHAPIRO & BROWN, LLP
 501 Independence Parkway, Suite 203
 Chesapeake, Virginia 23320
 (703) 449-5800
 18-272477
Case 18-36375-KLP     Doc 35    Filed 05/20/19 Entered 05/20/19 13:48:27        Desc Main
                                Document     Page 3 of 4




 Dated: 05/20/2019
                                              SHAPIRO & BROWN, LLP

                                              Attorneys for Wells Fargo Bank, NA



                                              By: /s/ Mary F. Balthasar Lake
                                              Gregory N. Britto, Esquire
                                              Renee Dyson, Esquire
                                              Malcolm B. Savage, III, Esquire
                                              William M. Savage, Esquire
                                              Thomas J. Gartner, Esquire
                                              Mary F. Balthasar Lake, Esquire
                                              Counsel for Movant




 Gregory N. Britto, Esquire
 VSB #23476
 William M. Savage, Esquire
 VSB #26155
 Malcolm B. Savage, III, Esquire
 VSB #91050
 Thomas J. Gartner, Esquire
 VSB #79340
 Mary F. Balthasar Lake, Esquire
 VSB #34899
 Renee Dyson, Esquire
 VSB #93282
 SHAPIRO & BROWN, LLP
 501 Independence Parkway, Suite 203
 Chesapeake, Virginia 23320
 (703) 449-5800
 18-272477
Case 18-36375-KLP         Doc 35     Filed 05/20/19 Entered 05/20/19 13:48:27               Desc Main
                                     Document     Page 4 of 4




                                    CERTIFICATE OF SERVICE



 I certify that I have mailed true copies of the above mentioned response to Debtor's motion to sell
 real property by electronic or first class mail, postage pre-paid on the 20th. day of May, 2019 to the
 following:

 Granville LeRoy Green                                           - Debtor(s)
 6289 Indian Trial Court
 Mechanicsville, VA 23111

 ROY M. TERRY, JR.                                               - Trustee
 P.O. BOX 2188
 RICHMOND, VA 23218-2188

 Genene E. Gardner                                               - Debtors' Attorney
 The Merna Law Group
 3419 Virginia Beach Blvd., #236
 Virginia Beach, VA 23452


                                                               /s/ Mary F. Balthasar Lake
                                                       ____________________________
                                                       Gregory N. Britto, Esquire
                                                       Renee Dyson, Esquire
                                                       Malcolm B. Savage, III, Esquire
                                                       William M. Savage, Esquire
                                                       Thomas J. Gartner, Esquire
                                                       Mary F. Balthasar Lake, Esquire
 Gregory N. Britto, Esquire
 VSB #23476
 William M. Savage, Esquire
 VSB #26155
 Malcolm B. Savage, III, Esquire
 VSB #91050
 Thomas J. Gartner, Esquire
 VSB #79340
 Mary F. Balthasar Lake, Esquire
 VSB #34899
 Renee Dyson, Esquire
 VSB #93282
 SHAPIRO & BROWN, LLP
 501 Independence Parkway, Suite 203
 Chesapeake, Virginia 23320
 (703) 449-5800
 18-272477
